   Fill in this information to identify the case:

Debtor 1                 Kennith Eugene Young
                         _____________________________________________________________________


Debtor 2                Mary Alice Young
                        _____________________________________________________________________
(Spouse, if filing)

                                        Middle District of Pennsylvania (Harrisburg)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             18­01077
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             8
                                                                                                   Court claim no. (if known): _______________________
 JPMorgan Chase Bank, National Association




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           06/01/2020
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             773.71
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      4 ____
                                                                    ____ 9 ____
                                                                            9 ____
                                                                                4

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           317.45
                Current escrow payment: $ _________________                                                                       312.49
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
             Case 1:18-bk-01077-HWV                            Doc Filed 04/27/20 Entered 04/27/20 16:05:59                                      Desc
                                                               Main Document   Page 1 of 9
                     Kennith Eugene Young                                                                      18­01077
      Debtor 1       ________________________________________________________              Case number (if known) ______________________
                     First Name         Middle Name      Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Bubba Fangman
      ______________________________________________________________
      Signature
                                                                                       04/27/2020
                                                                                 Date _______________




 Print:______________________________________________________________
        Bubba Fangman                                                             Vice President
                                                                                 ____________________________________________________________
        First Name                Middle Name            Last Name               Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                    Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                          State     ZIP Code



                     866-243-5851                                                 PCN_Escalations@chase.com
 Contact phone _________________________                                         ____________________________________________________________
                                                                                 Email




Official Form 410S1                                        Notice of Mortgage Payment Change                                               page 2

      Case 1:18-bk-01077-HWV                          Doc Filed 04/27/20 Entered 04/27/20 16:05:59                                 Desc
                                                      Main Document   Page 2 of 9
                      UNITED STATES BANKRUPTCY COURT
                                             Middle District of Pennsylvania (Harrisburg)


                                                      Chapter 13 No. 18-01077
                                                      Judge: Chief Judge Henry W. Van Eck

In re:
Kennith Eugene Young & Mary Alice Young
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before April 28, 2020 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid
                                     Kennith Eugene Young
                                     266 Grove Road

                                     Delta PA 17314



                                    By U.S. Postal Service First Class Mail Postage Prepaid
                                     Mary Alice Young
                                     266 Grove Road

                                     Delta PA 17314


Debtor’s Attorney:                  By U.S. Postal Service First Class Mail Postage Prepaid
                                    Kara Katherine Gendron
                                    Mott & Gendron Law
                                    125 State Street

                                    Harrisburg PA 17101


                                    By U.S. Postal Service First Class Mail Postage Prepaid
                                    Dorothy L Mott
                                    Mott & Gendron Law
                                    125 State Street

                                    Harrisburg PA 17101


Trustee:                            By U.S. Postal Service First Class Mail Postage Prepaid
                                     Charles J DeHart, III (Trustee)

                                     8125 Adams Drive, Suite A

                                     Hummelstown PA 17036

                                                           _______________________________________________
                                                           /s/Bubba Fangman
                                                           Vice President
          Case 1:18-bk-01077-HWV               Doc Filed    04/27/20
                                                      JPMorgan             Entered 04/27/20 16:05:59
                                                               Chase Bank, N.A.                                   Desc
                                               Main Document        Page 3 of 9
Case 1:18-bk-01077-HWV   Doc Filed 04/27/20 Entered 04/27/20 16:05:59   Desc
                         Main Document   Page 4 of 9
Case 1:18-bk-01077-HWV   Doc Filed 04/27/20 Entered 04/27/20 16:05:59   Desc
                         Main Document   Page 5 of 9
Case 1:18-bk-01077-HWV   Doc Filed 04/27/20 Entered 04/27/20 16:05:59   Desc
                         Main Document   Page 6 of 9
Case 1:18-bk-01077-HWV   Doc Filed 04/27/20 Entered 04/27/20 16:05:59   Desc
                         Main Document   Page 7 of 9
Case 1:18-bk-01077-HWV   Doc Filed 04/27/20 Entered 04/27/20 16:05:59   Desc
                         Main Document   Page 8 of 9
Case 1:18-bk-01077-HWV   Doc Filed 04/27/20 Entered 04/27/20 16:05:59   Desc
                         Main Document   Page 9 of 9
